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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DAVID LUCESCU, Individually and On              No. 09-cv-4691-DLC
Behalf of All Others Similarly Situated,
                                                 ECF CASE
                               Plaintiff,
      v.                                         ORAL ARGUMENT REQUESTED

MIKE ZAFIROVSKI and PAVI BINNING,

                               Defendants.


                           NOTICE OF DEFENDANTS’
                  MOTION TO DISMISS THE AMENDED COMPLAINT

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendants’ Motion to Dismiss the Amended Complaint and supporting Declaration of

Christina L. Golden, Defendants will move this Court, before the Honorable Denise L. Cote,

United States District Judge, at the United States Courthouse, 500 Pearl Street, New York, New

York 10007-1312, at a date and time designated by the Court, pursuant to Federal Rules of Civil

Procedure 8, 9(b), and 12(b)(6) and the Private Securities Litigation Reform Act,

15 U.S.C. § 78u-4, for an Order: (a) dismissing the Amended Complaint with prejudice and

(b) granting such other and further relief as this Court may deem just and proper.
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Dated: New York, New York                       MORRISON & FOERSTER LLP
       October 6, 2017
                                                By:   /s/ Joel C. Haims
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